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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL VETERANS LEGAL
SERVICES PROGRAM,
   1600 K Street, NW
   Washington, DC 20006

NATIONAL CONSUMER LAW CENTER,                       Case No. ___________
  1001 Connecticut Avenue, NW
  Washington, DC 20036

ALLIANCE FOR JUSTICE,                               CLASS ACTION COMPLAINT
   11 Dupont Circle, NW
   Washington, DC 20036,

for themselves and all others similarly situated,
                       Plaintiffs,

       v.

UNITED STATES OF AMERICA,
   950 Pennsylvania Avenue, NW
   Washington, DC 20530,
                    Defendant.

                                          INTRODUCTION

       The Administrative Office of the U.S. Courts (AO) requires people to pay a fee to access

records through its Public Access to Court Electronic Records system, commonly known as

PACER. This action challenges the legality of those fees for one reason: the fees far exceed the

cost of providing the records. In 2002, Congress recognized that “users of PACER are charged

fees that are higher than the marginal cost of disseminating the information,” and sought to

ensure that records would instead be “freely available to the greatest extent possible.” S. Rep.

107–174, 107th Cong., 2d Sess. 23 (2002). To that end, the E-Government Act of 2002

authorizes PACER fees “as a charge for services rendered,” but “only to the extent necessary”

“to reimburse expenses in providing these services.” 28 U.S.C. § 1913 note.
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       Despite this express statutory limitation, PACER fees have twice been increased since the

Act’s passage. This prompted the Act’s sponsor to reproach the AO for continuing to charge fees

“well higher than the cost of dissemination”—“against the requirement of the E-Government

Act”—rather than doing what the Act demands: “create a payment system that is used only to

recover the direct cost of distributing documents via PACER.” Instead of complying with the

law, the AO has used excess PACER fees to cover the costs of unrelated projects—ranging from

audio systems to flat screens for jurors—at the expense of public access.

       This noncompliance with the E-Government Act has inhibited public understanding of

the courts and thwarted equal access to justice. And the AO has further compounded those

harms by discouraging fee waivers, even for pro se litigants, journalists, researchers, and

nonprofits; by prohibiting the free transfer of information by those who obtain waivers; and by

hiring private collection lawyers to sue people who cannot afford to pay the fees.

       The plaintiffs are three national nonprofit organizations that have downloaded public

court records from PACER—downloads for which they agreed to incur fees, and were in fact

charged fees, in excess of the cost of providing the records. Each download thus gave rise to a

separate claim for illegal exaction in violation of the E-Government Act. On behalf of themselves

and a nationwide class of those similarly situated, they ask this Court to determine that the

PACER fee schedule violates the E-Government Act and to award them a full recovery of past

overcharges.1


       1  This case is the first effort to challenge the PACER fee schedule by parties represented
by counsel. A now-dismissed pro se action, Greenspan v. Administrative Office, No. 14-cv-2396 (N.D.
Cal.), did seek to challenge the fees (among a slew of other claims), but it was dismissed on
jurisdictional grounds inapplicable here. Last year, two other cases were filed alleging that
PACER, in violation of its own terms and conditions, overcharges its users due to a systemic
billing error concerning the display of some HTML docket sheets—an issue not raised in this
case. Fisher v. Duff, 15-5944 (W.D. Wash), and Fisher v. United States, 15-1575C (Ct. Fed. Cl.).
Neither case challenges the PACER fee schedule itself, as this case does.

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                                              PARTIES

       1.       Plaintiff National Veterans Legal Services Program (NVLSP) is a nonprofit

organization founded in 1980 and based in Washington, D.C. It seeks to ensure that American

veterans and active-duty personnel receive the full benefits to which they are entitled for

disabilities resulting from their military service. Over the years, the organization has represented

thousands of veterans in individual court cases, educated countless people about veterans-benefits

law, and brought numerous class-action lawsuits challenging the legality of rules and policies of

the U.S. Department of Veterans Affairs. As a result, NVLSP has paid fees to the PACER

Service Center to obtain public court records within the past six years.

       2.       Plaintiff National Consumer Law Center (NCLC) is a national nonprofit

organization that seeks to achieve consumer justice and economic security for low-income and

other disadvantaged Americans. From its offices in Washington, D.C. and Boston, NCLC

pursues these goals through policy analysis, advocacy, litigation, expert-witness services, and

training for consumer advocates throughout the nation, and does so on a wide range of issues,

including consumer protection, unfair and deceptive acts and practices, privacy rights, civil

rights, and employment. Among other things, NCLC prepares and publishes 20 different treatise

volumes on various consumer-law topics. In the course of its research, litigation, and other

activities, NCLC has paid fees to the PACER Service Center to obtain public court records

within the past six years.

       3.       Plaintiff Alliance for Justice (AFJ) is a nonprofit corporation with its headquarters

in Washington, D.C. and offices in Los Angeles, Oakland, and Dallas. It is a national association

of over 100 public-interest organizations that focus on a broad array of issues—including civil

rights, human rights, women’s rights, children’s rights, consumer rights, and ensuring legal

representation for all Americans. Its members include AARP, the Center for Digital Democracy,


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Consumers Union, the National Center on Poverty Law, and the National Legal Aid & Defender

Association. On behalf of these groups and the public-interest community, AFJ works to ensure

that the federal judiciary advances core constitutional values, preserves unfettered access to the

courts, and adheres to the even-handed administration of justice for all Americans. AFJ has paid

fees to the PACER Service Center to obtain public court records within the past six years.

       4.       Defendant United States of America, through the AO and its PACER Service

Center, administers PACER and charges fees for access to public court records.

                                   JURISDICTION AND VENUE

       5.       This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 28 U.S.C. § 1346(a). Each plaintiff and putative class member has multiple individual illegal-

exaction claims against the United States, none of which exceeds $10,000.

       6.       The Court has personal jurisdiction over all parties to this lawsuit, and venue is

proper under 28 U.S.C. § 1391 and 28 U.S.C. § 1402(a).

                                     FACTUAL ALLEGATIONS

                            How PACER works: A brief overview

       7.       PACER is a decentralized system of electronic judicial-records databases. It is

managed by the AO, and each federal court maintains its own database. Any person may access

records through PACER by registering for an online account and searching the applicable court

database. Before accessing a particular record, however, each person must first agree to pay a

specific fee, shown on the computer screen, which says: “To accept charges shown below, click

on the ‘View Document’ button, otherwise click the ‘Back’ button on your browser.” The current

fee is $.10 per page (with a maximum of $3.00 per record) and $2.40 per audio file. There is no

charge for judicial opinions. Only if the person affirmatively agrees to pay the fee will a PDF of

the record appear for downloading and printing. Unless that person obtains a fee waiver or


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incurs less than $15 in PACER charges in a given quarter, he or she will have a contractual

obligation to pay the fees.

    How we got here: Congress authorizes fees “to reimburse” PACER expenses.

        8.       This system stretches back to the early 1990s, when Congress began requiring the

federal judiciary to charge “reasonable fees . . . for access to information available through

automatic data processing equipment,” including records available through what is now known

as PACER. Judiciary Appropriations Act, 1991, Pub. L. No. 101–515, § 404, 104 Stat. 2129,

2132–33. In doing so, Congress sought to limit the amount of the fees to the cost of providing

access to the records: “All fees hereafter collected by the Judiciary . . . as a charge for services rendered

shall be deposited as offsetting collections . . . to reimburse expenses incurred in providing these services.”

Id. (emphasis added). When the system moved from a dial-in phone service to an Internet portal

in 1998, the AO set the PACER fees at $.07 per page (introducing in 2002 a maximum of $2.10

per request), without explaining how it arrived at these figures. See Chronology of the Federal

Judiciary’s Electronic Public Access (EPA) Program, http://1.usa.gov/1lrrM78.

        9.       It soon became clear that these amounts were far more than necessary to recover

the cost of providing access to electronic records. But rather than reduce the fees to cover only

the costs incurred, the AO instead decided to use the extra revenue to subsidize other

information-technology-related projects—a mission creep that only grew worse over time.

                    The AO begins using excess PACER fees to fund ECF.

        10.      The expansion began in 1997, when the judiciary started planning for a new e-

filing system called ECF. The AO produced an internal report discussing how the system would

be funded. It emphasized the “long-standing principle” that, when charging a user fee, “the

government should seek, not to earn a profit, but only to charge fees commensurate with the cost

of providing a particular service.” Admin. Office of the U.S. Courts, Electronic Case Files in the


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Federal Courts: A Preliminary Examination of Goals, Issues and the Road Ahead (discussion draft), at 34

(Mar. 1997). Yet, just two pages later, the AO contemplated that the ECF system could be

funded with “revenues generated from electronic public access fees”—that is, PACER fees. Id. at

36. The AO believed that these fees could lawfully be used not only to reimburse the cost of

providing access to records through PACER, but also for technology-related purposes more

broadly, including “electronic filings, electronic documents, use of the Internet, etc.” Id. The AO

did not offer any statutory authority to support this view.

              Congress responds by passing the E-Government Act of 2002.

        11.     After the AO began charging PACER fees that exceeded the cost of providing

access to records, Congress did not respond by relaxing the statutory requirement that the fees be

limited to those costs. To the contrary, when Congress revisited the subject of PACER fees a few

years later, it amended the statute to strengthen this requirement.

        12.     Recognizing that, under “existing law, users of PACER are charged fees that are

higher than the marginal cost of disseminating the information,” Congress amended the law “to

encourage the Judicial Conference to move from a fee structure in which electronic docketing

systems are supported primarily by user fees to a fee structure in which this information is freely

available to the greatest extent possible.” S. Rep. 107–174, 107th Cong., 2d Sess. 23 (2002). The

result was a provision of the E-Government Act of 2002 that amended the language authorizing

the imposition of fees—removing the mandatory “shall prescribe” language and replacing it with

language permitting the Judicial Conference to charge fees “only to the extent necessary.” Pub.

L. No. 107–347, § 205(e), 116 Stat. 2899, 2915 (Dec. 17, 2002) (28 U.S.C. § 1913 note). The full

text of the statute is thus as follows:

        (a) The Judicial Conference may, only to the extent necessary, prescribe reasonable
        fees, pursuant to sections 1913, 1914, 1926, 1930, and 1932 of title 28, United
        States Code, for collection by the courts under those sections for access to information


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        available through automatic data processing equipment. These fees may distinguish
        between classes of persons, and shall provide for exempting persons or classes of
        persons from the fees, in order to avoid unreasonable burdens and to promote
        public access to such information. The Director of the [AO], under the direction
        of the Judicial Conference of the United States, shall prescribe a schedule of
        reasonable fees for electronic access to information which the Director is required
        to maintain and make available to the public.

        (b) The Judicial Conference and the Director shall transmit each schedule of fees
        prescribed under paragraph (a) to the Congress at least 30 days before the
        schedule becomes effective. All fees hereafter collected by the Judiciary under
        paragraph (a) as a charge for services rendered shall be deposited as offsetting collections
        to the Judiciary Automation Fund pursuant to 28 U.S.C. 612(c)(1)(A) to reimburse
        expenses incurred in providing these services.

28 U.S.C. § 1913 note (emphasis added).

              Even after the E-Government Act, the AO increases PACER fees.

        13.      Rather than reduce or eliminate PACER fees, however, the AO increased them

to $.08 per page in 2005. Memorandum from Leonidas Ralph Mecham, Director of the Admin.

Office, to Chief Judges and Clerks (Oct. 21, 2004). To justify this increase, the AO did not point

to any growing costs of providing access to records through PACER. It relied instead on the fact

that the judiciary’s information-technology fund—the account into which PACER fees and other

funds (including appropriations) are deposited, 28 U.S.C. § 612(c)(1)—could be used to pay the

costs of technology-related expenses like ECF. As before, the AO cited no statutory authority for

this increase.

    The AO finds new ways to spend extra PACER fees as they continue to grow.

        14.      Even expanding the conception of costs to cover ECF did not bring the PACER

balance sheet to zero. Far from it: By the end of 2006, the judiciary’s information-technology

fund had accumulated a surplus of nearly $150 million—at least $32 million of which was from

PACER fees. Admin. Office, Judiciary Information Technology Annual Report for Fiscal Year 2006, at 8,

http://bit.ly/1V5B9p2. But once again, the AO declined to reduce or eliminate PACER fees,



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and instead chose to seek out new ways to spend the excess, using it to fund “courtroom

technology allotments for installation, cyclical replacement of equipment, and infrastructure

maintenance.” Quoted in Letter from Sen. Lieberman, Chair, Sen. Comm. on Homeland

Security and Governmental Affairs, to Sens. Durban and Collins, Sen. Comm. on

Appropriations (Mar. 25, 2010).

       15.     Two years later, in 2008, the chair of the Judicial Conference’s Committee on the

Budget testified before the House. She explained that the judiciary used PACER fees not only to

reimburse the cost of “run[ning] the PACER program,” but also “to offset some costs in our

information technology program that would otherwise have to be funded with appropriated

funds.” Hearings Before a Subcomm. of the Sen. Comm. on Appropriations on H.R. 7323/S.

3260, 110th Cong. 51 (2008). Specifically, she testified, “[t]he Judiciary’s fiscal year 2009 budget

request assumes $68 million in PACER fees will be available to finance information technology

requirements in the courts’ Salaries and Expenses account, thereby reducing our need for

appropriated funds.” Id.

       The E-Government Act’s sponsor says that the AO is violating the law.

       16.     In early 2009, Senator Joe Lieberman (the E-Government Act’s sponsor) wrote

the AO “to inquire if [it] is complying” with the statute. He noted that the Act’s “goal” was “to

increase free public access to [judicial] records,” yet “PACER [is] charging a higher rate” than it

did when the law was passed. Importantly, he explained, “the funds generated by these fees are

still well higher than the cost of dissemination.” He asked the Judicial Conference to explain

“whether [it] is only charging ‘to the extent necessary’ for records using the PACER system.”

Letter from Sen. Lieberman to Hon. Lee Rosenthal, Chair, Committee on Rules of Practice and

Procedure, Judicial Conf. of the U.S. (Feb. 27, 2009).




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       17.     The Judicial Conference replied with a letter adhering to the AO’s view that it is

authorized to use PACER fees to recoup non-PACER-related costs. The letter did not identify

any statutory language supporting this view, and acknowledged that the E-Government Act

“contemplates a fee structure in which electronic court information ‘is freely available to the

greatest extent possible.’” Letter from Hon. Lee Rosenthal and James C. Duff, Judicial Conf. of

the U.S., to Sen. Lieberman, Chair, Sen. Comm. on Homeland Security and Governmental

Affairs (Mar. 26, 2009). The letter did not cite any statute that says otherwise. Yet it claimed that

Congress, since 1991, has “expand[ed] the permissible use of the fee revenue to pay for other

services”—even though Congress has actually done the opposite, enacting the E-Government

Act in 2002 specifically to limit any fees to those “necessary” to “reimburse expenses incurred” in

providing the records. 28 U.S.C. § 1913 note. The sole support the AO offered for its view was a

sentence in a conference report accompanying the 2004 appropriations bill, which said only that

the Appropriations Committee “expects the fee for the Electronic Public Access program to

provide for [ECF] system enhancements and operational costs.” Id. The letter did not provide

any support (even from a committee report) for using the fees to recover non-PACER-related

expenses beyond ECF.

        18.    Later, in his annual letter to the Appropriations Committee, Senator Lieberman

expressed his “concerns” about the AO’s interpretation. “[D]espite the technological innovations

that should have led to reduced costs in the past eight years,” he observed, the “cost for these

documents has gone up.” And it has done so for only one reason: so that the AO can fund

“initiatives that are unrelated to providing public access via PACER.” He reiterated his view that

this is “against the requirement of the E-Government Act,” which permits “a payment system

that is used only to recover the direct cost of distributing documents via PACER”—not other

technology-related projects that “should be funded through direct appropriations.” Letter from


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Sen. Lieberman, Chair, Sen. Comm. on Homeland Security and Governmental Affairs, to Sens.

Durban and Collins, Sen. Comm. on Appropriations (Mar. 25, 2010).

                            The AO again increases PACER fees.

       19.      Undeterred by Senator Lieberman’s concerns, the AO responded by raising

PACER fees once again, to $.10 per page beginning in 2012. It acknowledged that “[f]unds

generated by PACER are used to pay the entire cost of the Judiciary’s public access program,

including     telecommunications,      replication,    and    archiving     expenses,    the    Case

Management/Electronic Case Files system, electronic bankruptcy noticing, Violent Crime

Control Act Victim Notification, on-line juror services, and courtroom technology.” Admin.

Office, Electronic Public Access Program Summary 1 (2012), http://1.usa.gov/1Ryavr0. But the AO

believed that the fees comply with the E-Government Act because they “are only used for public

access, and are not subject to being redirected for other purposes.” Id. at 10. It did not elaborate.

       20.      In a subsequent congressional budget summary, however, the judiciary reported

that (of the money generated from “Electronic Public Access Receipts”) it spent just $12.1 million

on “public access services” in 2012, while spending more than $28.9 million on courtroom

technology. The Judiciary: Fiscal Year 2014 Congressional Budget Summary, App. 2.4.

             The AO continues to charge more in fees than the cost of PACER.

       21.      Since the 2012 fee increase, the AO has continued to collect large amounts in

PACER fees and to use these fees to fund activities beyond providing access to records. In 2014,

for example, the judiciary collected more than $145 million in fees, much of which was

earmarked for other purposes such as courtroom technology, websites for jurors, and bankruptcy

notification systems. Admin. Office of the U.S. Courts, The Judiciary Fiscal Year 2016 Congressional

Budget Summary 12.2 (Feb. 2015). When questioned during a House appropriations hearing that

same year, representatives from the judiciary acknowledged that “the Judiciary’s Electronic


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Public Access Program encompasses more than just offering real-time access to electronic

records.” Financial Services and General Government Appropriations for 2015, Part 6: Hearings Before a

Subcomm. of the House Comm. on Appropriations, 113th Cong. 152 (2014).

       22.     Some members of the federal judiciary have been open about the use of PACER

revenue to cover unrelated expenses. For example, Judge William Smith (a member of the

Judicial Conference’s Committee on Information Technology) has acknowledged that the fees

“also go to funding courtroom technology improvements, and I think the amount of investment

in courtroom technology in ‘09 was around 25 million dollars. . . . Every juror has their own flat-

screen monitors. . . . [There have also been] audio enhancements. . . . We spent a lot of money

on audio so the people could hear what’s going on. . . . This all ties together and it’s funded

through these [PACER] fees.” Hon. William Smith, Panel Discussion on Public Electronic

Access to Federal Court Records at the William and Mary Law School Conference on Privacy

and Public Access to Court Records (Mar. 4–5, 2010), bit.ly/1PmR0LJ.

The AO’s policy of limiting fee waivers and targeting those who cannot pay the fees

       23.     The judiciary’s decision to increase PACER fees to fund these (otherwise

unobjectionable) expenses has created substantial barriers to accessing public records—for

litigants, journalists, researchers, and others. The AO has compounded these barriers through a

policy of discouraging fee waivers, even for journalists, pro se litigants, and nonprofits; by

prohibiting the transfer of information, even for free, by those who manage to obtain waivers;

and by hiring private collection lawyers to sue individuals who cannot pay the fees.

       24.     Two examples help illustrate the point: In 2012, journalists at the Center for

Investigative Reporting applied “for a four-month exemption from the per page PACER fee.” In

re Application for Exemption from Elec. Public Access Fees, 728 F.3d 1033, 1035–36 (9th Cir. 2013).

They “wanted to comb court filings in order to analyze ‘the effectiveness of the court’s conflict-


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checking software and hardware to help federal judges identify situations requiring their

recusal,’” and “planned to publish their findings” online. Id. at 1036. But their application was

denied because policy notes accompanying the PACER fee schedule instruct courts not to

provide a fee waiver to “members of the media” or anyone not in one of the specific groups

listed. Id. at 1035. The Ninth Circuit held that it could not review the denial. Id. at 1040.

       25.     The other example is from five years earlier, when private collection lawyers

representing the PACER Service Center brought suit in the name of the United States against “a

single mother of two minor children” who had “no assets whatsoever,” claiming that she owed

$30,330.80 in PACER fees. See Compl. in United States v. Deanna Manning, No. 07-cv-04595, filed

July 3, 2007 (C.D. Cal.); Answer, Dkt. 12, filed Oct. 16, 2007. Representing herself, the woman

“admit[ted] to downloading and printing a small amount [of] material from PACER, no more

than $80 worth,” which “would be 1,000 pages, actually much more than she remembers

printing.” Answer, Dkt. 12, at 1. But she explained that “[t]here is no way she would have had

enough paper and ink to print 380,000 pages as the Complaint alleges,” so “[t]his must be a huge

mistake.” Id. She concluded: “Our great and just government would have better luck squeezing

blood from a lemon than trying to get even a single dollar from this defendant who can barely

scrape up enough money to feed and clothe her children.” Id. at 2. Only then did the

government dismiss the complaint.

                                     CLASS ACTION ALLEGATIONS

       26.     The plaintiffs bring this class action under Rule 23(b)(3) of the Federal Rules of

Civil Procedure.

       27.     The plaintiffs seek certification of the following class:

       All individuals and entities who have paid fees for the use of PACER within the past six years, excluding
       class counsel and agencies of the federal government.



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       28.     The class is so numerous that joinder of all members is impractical. While the

exact number and identity of class members is unknown to the plaintiffs at this time and can only

be ascertained through appropriate discovery, the plaintiffs believe that the number of class

members is approximately 2,000,000. The precise number and identification of the class

members will be ascertainable from the defendant’s records.

       29.     There are questions of law and fact common to all members of the class. Those

common questions include, but are not limited to, the following:

       (i)     Are the fees imposed for PACER access excessive in relation to the cost of

providing the access—that is, are the fees higher than “necessary” to “reimburse expenses

incurred in providing the[] services” for which they are “charge[d]”? 28 U.S.C. § 1913 note.

       (ii)    What is the measure of damages for the excessive fees charged?

       30.     The plaintiffs’ claims are typical of the claims of the class because they, like the

class members, paid the uniform fees required by the defendant in order to access PACER.

       31.     The plaintiffs will fairly and adequately protect the interests of the class because

each of them has paid PACER fees during the class period, their interests do not conflict with the

interests of the class, and they have obtained counsel experienced in litigating class actions and

matters involving similar or the same questions of law.

       32.     The questions of law or fact common to the members of the class predominate

over any questions affecting only individual members, and a class action is superior to other

available methods for fairly and efficiently adjudicating the plaintiffs’ claims. Joinder of all

members is impracticable. Furthermore, because the injury suffered by the individual class

members may be relatively small, the expense and burden of individual litigation make it

impossible for members of the class to individually redress the wrongs done to them. There will

be no difficulty in the management of this action as a class action.


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                             CLAIM FOR RELIEF: ILLEGAL EXACTION

       33.     The plaintiffs bring this case under the Little Tucker Act, 28 U.S.C. § 1346(a),

which waives sovereign immunity and “provides jurisdiction to recover an illegal exaction by

government officials when the exaction is based on an asserted statutory power.” Aerolineas

Argentinas v. United States, 77 F.3d 1564, 1572–74 (Fed. Cir. 1996) (allowing an illegal-exaction

claim for excess user fees). Courts have long recognized such an “illegal exaction” claim—a claim

that money was “improperly paid, exacted, or taken from the claimant” in violation of a statute,

Norman v. United States, 429 F.3d 1081, 1095 (Fed. Cir. 2005)—regardless of whether the statute

itself creates an express cause of action. As one court has explained, “the lack of express money-

mandating language in the statute does not defeat [an] illegal exaction claim” because

“otherwise, the Government could assess any fee or payment it wants from a plaintiff acting

under the color of a statute that does not expressly require compensation to the plaintiff for

wrongful or illegal action by the Government, and the plaintiff would have no recourse.” N. Cal.

Power Agency v. United States, 122 Fed. Cl. 111, 116 (2015).

       34.     Here, each download of a public record for which the plaintiffs agreed to incur a

fee, and were in fact charged a fee, gives rise to a separate illegal-exaction claim. The fees

charged by the defendant for the use of PACER exceeded the amount that could be lawfully

charged, under the E-Government Act of 2002 and other applicable statutory authority, because

they did not reasonably reflect the cost to the government of the specific service for which they

are charged. The plaintiffs are entitled to the return or refund of the excessive PACER fees

illegally exacted or otherwise unlawfully charged.

                                        PRAYER FOR RELIEF

       The plaintiffs request that the Court:

   a. Certify this action as a class action under Federal Rule of Civil Procedure 23(b)(3);


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   b. Declare that the fees charged for access to records through PACER are excessive;

   c. Award monetary relief for any PACER fees collected by the defendant in the past six

       years that are found to exceed the amount authorized by law;

   d. Award the plaintiffs their costs, expenses, and attorney fees under 28 U.S.C. § 2412

       and/or from a common fund; and

   e. Award all other appropriate relief.

                                 Respectfully submitted,

                                 /s/ Deepak Gupta
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April 21, 2016                   Attorneys for Plaintiffs




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